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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  STATE OF NEW JERSEY,
                                                        Hon. Leo M. Gordon
                                   Plaintiff,

             v.                                         Civ. No. 2:23-cv-03885-LMG-LDW

  UNITED STATES DEPARTMENT OF
  TRANSPORTATION, et al.,                               ORDER GRANTING ADMISSION
                                                        OF AMY CASSIDY PRO HAC
                                   Defendants.          VICE



           This matter having been brought before the Court by Daniel Chorost, Esq., of Sive, Paget

& Riesel, P.C., counsel for Intervenor-Defendants the Metropolitan Transportation Authority

(the “MTA”) and the Triborough Bridge and Tunnel Authority (“TBTA”), for an Order allowing

Amy Cassidy, Esq. to appear and participate pro hac vice; and the Court having considered the

moving papers; and there being no opposition to this application; and for good cause shown

pursuant to Local Civil Rule 101.1(c) of the United States District Court for the District of

New Jersey;
           IT IS on this ___
                         5th day of ________________,
                                       February       2025,

           ORDERED that the application of Amy Cassidy, Esq., be and hereby is granted; and it is
further,

           ORDERED that Amy Cassidy, Esq., a member in good standing of the Bar of the State

of New York, be permitted to appear pro hac vice in the above-captioned matter pursuant to

L.Civ.R.101.1(c); and it is further,

           ORDERED that, all pleadings, briefs, and other papers filed with the Court shall be

signed by a partner or associate of the law firm of Sive, Paget & Riesel P.C., attorneys of record

for Intervenor-Defendants, who is admitted to the Bar of this Court and shall be held responsible
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for said papers and for the conduct of the case and who will be held responsible for the conduct

of the attorney admitted hereby; and it is further,

           ORDERED that Amy Cassidy, Esq., shall pay the annual fee to the New Jersey

Lawyers’ Fund for Client Protection in accordance with L.Civ.R. 101.1(c)(2) and New Jersey

Court Rule 1:28-2(a) within twenty (20) days from the date of the entry of this Order; and it is

further,

           ORDERED that Amy Cassidy, Esq., shall make payment of $250.00 to the Clerk of the

United States District Court in accordance with L.Civ.R. 101.1(c)(3), as amended, within twenty

(20) days from the date of the entry of this Order; and it is further,

           ORDERED that Amy Cassidy, Esq., shall be bound by the Rules of the United States

District Court for the District of New Jersey, including, but not limited to the provisions of

L.Civ.R. 103.1, Judicial Ethics and Professional Responsibility, and L.Civ.R. 104.1, Discipline

of Attorneys; and it is further,

           ORDERED that Amy Cassidy, Esq., notify this Court immediately of any disciplinary

charges brought against her in the Bar of any other court; and it is further,

           ORDERED that Amy Cassidy, Esq., shall be deemed to have agreed to take no fee in

any tort case in excess of the New Jersey State Court Contingency Fee Rule, Rule 1:21-7, as

amended; and it is further,

           ORDERED that Sive, Paget & Riesel, P.C. may file a request, the form of which is

available at the Court’s website, with the Clerk of the Court for pro hac vice counsel to receive

electronic notifications in this matter.

                                                                                                    _
                                                              Hon. Leda D. Wettre
                                                              United States Magistrate Judge



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